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                       THE UNITED STATES DISTRICT COURT
                               DISTRICT OF UTAH


ARE YOU LISTENING YET PAC, and
TRACIE HALVERSON,

                    Plaintiffs,          ORDER GRANTING PRO HAC VICE
                                         ADMISSION
 v.
                                         CASE NO: 2:24-cv-00104-JNP
DEIDRE HENDERSON, Lieutenant
Governor of the State of Utah, in her
official capacity

                   Defendant.



      Before the court is Local Counsel’s Motion for Pro Hac Vice Admission of

Benjamin Barr. Based on the motion and for good cause appearing,

      IT IS HEREBY ORDERED that the motion is GRANTED.



DATED this 9th day of February, 2024.


                                                    BY THE COURT:



                                                    Jill N. Parrish
                                                    United States District Court
